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               UNITED STATES DISTRICT COURT
                                                                   .2009 OCT 22 AM 9: 55
              SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION

UNITED STATES OF AMERICA          )
                                  )
V.                                )     Case No. CR408-315
                                  )
ANTONIO DAWON WOODLEY             )
                                  )
      Defendant                   )

                               ORDER
      After a careful de novo review of the record in this case, the court

 concurs with the Magistrate Judge's Report and Recommendation, to which

 no objections have been filed. Accordingly, the Report and

 Recommendation of the Magistrate Judge is adopted as the opinion of the

 Court.

      SO ORDERED this22day of                            , 2009.




                                        WILLIAM                  JUDGE
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
